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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION



UNITED STATES OF AMERICA,

                           Plaintiff,

                vs.                                          CASE NO.: 2:10-CR-334 (8)
                                                             JUDGE SMITH
                                                             MAGISTRATE JUDGE KING
LUIS ALBERTO GUTIERREZ,

                           Defendant.


                                             ORDER

        On October 6, 2011, the Magistrate Judge issued a Report and Recommendation pursuant

to 28 U.S.C. § 636(b)(1), recommending that the Court accept Defendant Luis Alberto Gutierrez’s

guilty plea to Count One of the Indictment charging him with conspiracy to distribute and possession

with the intent to distribute more than 1000 kilograms of marijuana, in violation of 21 U.S.C.

§841(a)(1) and (b)(1)(A)(vii) and 21 U.S.C. § 846 (Doc. 257). Defendant, represented by counsel,

waived his right to appear on the matter before a District Judge. The Magistrate Judge conducted

the colloquy required by Rule 11 of the Federal Rules of Criminal Procedure. Defendant’s plea was

knowing, voluntary, free from coercion, and had a basis in fact.

        Defendant was specifically informed of his right to contest the Report and Recommendation

by filing any objections within 14 days of the issuance of the Report and Recommendation pursuant

to 28 U.S.C. §636(b)(1)(B) and Rule 72(b) of the Federal Rules of Civil Procedure. Defendant did

not file any objections.
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       Accordingly, the Court ADOPTS the Report and Recommendation and ACCEPTS

Defendant’s plea of guilty to Count One of the Indictment. Defendant is hereby adjudged guilty of

conspiracy to distribute and possession with the intent to distribute more than 1000 kilograms of

marijuana.

              IT IS SO ORDERED.


                                                    /s/ George C. Smith
                                                    GEORGE C. SMITH, JUDGE
                                                    UNITED STATES DISTRICT COURT




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